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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA
        v.
 SUE MI TERRY,                                          No. 24-cr-00427-LGS

                Defendant.




   MOTION OF THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS
               FOR LEAVE TO FILE AMICUS CURIAE BRIEF

       The Reporters Committee for Freedom of the Press (“Reporters Committee” or “amicus”)

respectfully moves for leave to file the accompanying amicus curiae brief in support of

Defendant Sue Mi Terry’s Motion to Dismiss Indictment. Defendant consents to this filing. The

United States opposes this filing.

       “District courts have broad discretion to permit or deny the appearance of amici curiae in

a given case.” Micula v. Gov’t of Romania, No. 15 Misc. 107, 2015 WL 4643180, at *1

(S.D.N.Y. Aug. 5, 2015). Amicus briefs are appropriately accepted “when the amicus has

unique information or perspective that can help the court beyond the help that the lawyers for the

parties are able to provide.” Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J., No. 11 Civ.

6746 (RJH), 2011 WL 5865296, at *2 (S.D.N.Y. Nov. 22, 2011) (internal quotation and citation

omitted); accord C&A Carbone, Inc. v. County of Rockland, N.Y., No. 08-cv-6459-ER, 2014 WL

1202699, at *3 (S.D.N.Y. Mar. 24, 2014).

       Such is the case here. The Reporters Committee is an unincorporated nonprofit

association founded by leading journalists and media lawyers in 1970 when the nation’s news

media faced an unprecedented wave of government subpoenas forcing reporters to name


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confidential sources. Today, its attorneys provide pro bono legal representation, amicus curiae

support, and other legal resources to protect First Amendment freedoms and the newsgathering

rights of journalists.

        As an organization that advocates for the First Amendment and newsgathering rights of

members of the news media, amicus has a strong interest in ensuring that federal criminal laws

like the Foreign Agents Registration Act (“FARA”) are not applied in ways that dissuade

journalists from engaging in constitutionally-protected newsgathering activity and reporting on

matters of public concern. The Reporters Committee has filed amicus briefs in prosecutions

under federal criminal laws that have broader implications for the press, including, for instance,

the Espionage Act of 1917, which resembles FARA in its facial breadth. See, e.g., Brief for 31

Media Orgs. & Reps. Comm. for Freedom of the Press as Amici Curiae, United States v.

Morison, 844 F.2d 1057 (4th Cir. 1988) (No. 86-5008), https://perma.cc/TZV6-4FD7 (filed Mar.

27, 1987); Brief of Reps. Comm. for Freedom of the Press as Amicus Curiae, United States v.

Hale, No. 1:19-cr-00059 (E.D. Va. July 27, 2021), https://perma.cc/BCM4-DBWT (filed Sept.

23, 2019); see also Brief for Reps. Comm. for Freedom of the Press et al. as Amici Curiae, Van

Buren v. United States, 593 U.S. 374 (2021) (No. 19-783), https://perma.cc/N877-ADHY (filed

July 8, 2020) (noting that vagueness inherent in federal Computer Fraud and Abuse Act could

sweep in routine journalistic activity and urging a narrowing construction). It has also filed

briefs in cases in this court. See, e.g., Brief for Reps. Comm. for Freedom of the Press & 31

Media Orgs. as Amici Curiae, Uniformed Fire Ass’n v. DeBlasio, No. 1:20-cv-05441-KPF

(S.D.N.Y. Aug. 14, 2020), https://perma.cc/Y89N-HKHG.

        Amicus respectfully requests leave to file the attached amicus brief to address the broader

impact that certain legal arguments advanced in this prosecution might have on press freedom,




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were the prosecution permitted to proceed. Specifically, the government’s theory of criminal

liability here is predicated in part on activities that are, as a legal matter, indistinguishable from

the kinds of source-cultivation efforts and reporting that journalists regularly engage in, and for

which they receive constitutional protection. See Zerilli v. Smith, 656 F.2d 705, 715 (D.C. Cir.

1981) (protecting identities of confidential sources); Bartnicki v. Vopper, 532 U.S. 514, 535

(2001) (protecting dissemination of intercepted telephone conversation on matters of public

concern); Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974) (protecting editorial

decision-making). As the attached amicus brief explains, the government’s theory of liability

here also runs contrary to how FARA has historically been interpreted and enforced. Were the

statute to be read as expansively as the government urges, that theory would render the statute

unconstitutionally overbroad and vague and would endanger journalism in the public interest.

        For the foregoing reasons, the Reporters Committee respectfully requests leave to file the

attached amicus brief.

                                                        Respectfully submitted,

                                                        /s/ Gabriel Rottman
                                                        Gabriel Rottman (pro hac vice)
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                                   CERTIFICATE OF SERVICE

        I, Gabriel Rottman, do hereby certify that I have filed the foregoing Motion for Leave to

File Brief of Amicus Curiae and Attached Proposed Brief of Amicus Curiae electronically with

the Clerk of the Court for the United States District Court for the Southern District of New York

using the ECF filing system on March 5, 2025, which will automatically send notices of such

filing to all counsel of record.

                                                     /s/ Gabriel Rottman
                                                     Gabriel Rottman (pro hac vice)
                                                       Counsel of Record for Amicus Curiae
                                                     REPORTERS COMMITTEE FOR
                                                       FREEDOM OF THE PRESS




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